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             EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




 IN RE GOOGLE DIGITAL ADVERTISING                           No. 21-md-3010 (PKC)
 ANTITRUST LITIGATION




This Stipulation Relates To:

 THE STATE OF TEXAS, et al.,

                               Plaintiffs,

     -    against -
                                                            No. 21-CV-6841 (PKC)
 GOOGLE LLC,

                               Defendant.



                              STIPULATION REGARDING
                        STATE PLAINTIFFS’ STATE LAW CLAIMS
         Defendant Google LLC (“Google”) and Plaintiffs State of Texas, State of Alaska, State of

Arkansas, State of Florida, State of Idaho, State of Indiana, Commonwealth of Kentucky, State of

Louisiana, State of Mississippi, State of Missouri, State of Montana, State of Nevada, State of

North Dakota, Commonwealth of Puerto Rico, State of South Carolina, State of South Dakota, and

State of Utah (collectively “State Plaintiffs”) stipulate as follows:

         WHEREAS, on September 13, 2022, the Court issued its Opinion and Order on Google’s

Motion to Dismiss Counts I Through IV of the States’ Third Amended Complaint (ECF No. 308,

the “Opinion and Order”);




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       WHEREAS, on November 18, 2022, the Court issued Pre-Trial Order No. 4, ordering State

Plaintiffs and Google to meet and confer on a stipulation as to the effect of the Opinion and Order

on any of the State Plaintiffs’ state law claims and to report to the Court within 21 days (see ECF

No. 392, ¶ 4);

       NOW THEREFORE, Google and State Plaintiffs (“the parties”), through their respective

counsel, hereby stipulate as follows:

           1. Where the Opinion and Order has determined the viability of any federal antitrust

                 claim based on certain conduct, the parties stipulate that the Opinion and Order is

                 also determinative of any state antitrust claim based on that same conduct;

           2. Any state law antitrust claim is deemed dismissed to the extent that it is based on

                 conduct alleged to serve as a basis for a federal antitrust claim that the Opinion and

                 Order dismissed;

           3. The parties have not reached any agreement—and this Stipulation should not be

                 interpreted as expressing a view—as to whether any state law antitrust claim based

                 on conduct, other than conduct described in paragraph 2, should be deemed

                 dismissed;

           4. If any portion of the Opinion and Order is reversed on appeal, Google will not take

                 the position that State Plaintiffs, by entering into this Stipulation, have waived any

                 state antitrust claim based on such portion of the Opinion and Order;

           5. The Opinion and Order did not determine the viability of the State Plaintiffs’ claims

                 arising under the deceptive trade practice acts of the various State Plaintiffs; and




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           6. The parties have not reached any agreement—and this Stipulation should not be

              interpreted as expressing a view—as to whether State Plaintiffs may further amend

              their pleadings with respect to state antitrust claims or any other claims.

IT IS SO STIPULATED.

Dated: December 9, 2022

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PURSUANT TO STIPULATION, IT IS SO ORDERED.




Date: _________________________                   ________________________________
                                                  Hon. P. Kevin Castel
                                                  United States District Court
                                                  Southern District of New York




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